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                                        UNITED STATES DISTRICT COURT
                                                   for the
                                       EASTERN DISTRICT OF CALIFORNIA

                                       PRETRIAL SERVICES VIOLATION PETITION
The United States,

     -vs-

Jarmal Duplessis                                                                               Docket No. 2:09-CR-422-WBS-2

COMES NOW Steven J. Sheehan, Pretrial Services Officer of the Court, presenting an official report upon the conduct
and attitude of Jarmal Duplessis, who was placed on bond by the Honorable Dale A. Drozd, U.S. Magistrate Judge, sitting
in the Court at Sacramento, California, on the 12th day of November, 2009, who imposed the general terms and conditions
of pretrial supervision theretofore adopted by the Court and also imposed special terms and conditions as follows:

OFFENSE: 18:371 - Conspiracy to Commit Student Loan Fraud. The defendant’s next status conference is set before the
Honorable William B. Shubb, U.S. District Court Judge, on July 12, 2010.

BOND CONDITIONS: The defendant was ordered released on a $10,000, unsecured appearance bond with Pretrial
Services supervision and special conditions. Please see attached.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
The defendant, who was ordered to participate in The Effort’s 90 day drug treatment program on April 16, 2010, submitted urine samples
which tested positive for marijuana and were confirmed as “new use” by the director or toxicology with Alere Toxicology Services on April
27, 2010, May 6, 2010, and May 13, 2010. On June 8, 2010, based on the recent information and opinion from Alere Toxicology, The
Effort discharged Mr. Duplessis from their residential substance abuse treatment program.

PRAYING THAT THE COURT WILL ORDER this matter placed on this court's calendar on Tuesday, June 15, 2010, at
2:00 p.m., for a bail violation hearing.

LAST KNOWN ADDRESS:                On file with Pretrial Services
TELEPHONE NUMBER:                  On file with Pretrial Services

I declare under penalty of perjury that the foregoing is true and correct.
                                                                             Respectfully submitted,

                                                                             /s/ Steven J. Sheehan

                                                                             U.S. Pretrial Services Officer/DATS

                                                                             June 10, 2010
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                                                              ORDER

_____ The Court hereby orders a bench warrant be issued for the arrest of said defendant, bail set at $                        .

____   The Court hereby orders this ex parte motion and order be sealed.

_____ The Court orders a summons be issued with an appearance date of                                      .

 X     The Court hereby orders this matter placed on this court's calendar on Tuesday, June 15, 2010, at 2:00 p.m. and
       orders the Pretrial Services Officer to contact the defendant and/or attorney of record to advise them of said order.

_____ The Court orders no action be taken.

                                                                      Considered and ordered this 10th day of
                                                                      June, 2010, and ordered filed and
                                                                      made a part of the records in the above case.




           AM ENDED SPECIAL CONDITIONS:

           1.     You shall participate and comply with all program regulations at the substance abuse treatment program at The
                  Effort, Inc., inpatient facility, and you shall remain at The Effort, Inc., inpatient facility at 1550 Juliesse Avenue,
                  Sacramento, California, until released by the pretrial services officer;
                  a.       A responsible party approved by Pretrial Services shall escort you to all required court hearings and escort
                           you back to The Effort upon completion of the hearing;

           2.     You shall refrain from any use of alcohol or any use of a narcotic drug or other controlled substance without a
                  prescription by a licensed medical practitioner; and, you shall notify Pretrial Services immediately of any prescribed
                  medications. However, medicinal marijuana, prescribed or not, may not be used;

           3.     Upon completion of the residential program, you shall participate in a program of medical or psychiatric treatment,
                  including treatment for drug or alcohol dependency, as approved by the Pretrial Services officer;

           4.     You shall report to and comply with the rules and regulations of the Pretrial Services Agency;

           5.     You shall report in person to the Pretrial Services Agency on the first working day following your release from custody;

           6.     You are to reside at a location approved by the pretrial services officer and not move or absent yourself from this residence
                  for more than 24 hours without the prior approval of the pretrial services officer;

           7.     Your travel is restricted to the Eastern District of California without the prior consent of the pretrial services officer;

           8.     You shall not possess a firearm, destructive device, or other dangerous weapon; additionally, you shall provide written proof
                  of divestment of all firearms currently under your control;

           9.     You shall submit to drug or alcohol testing as approved by the pretrial services officer;

           10.    You shall seek and/or maintain employment and provide proof of same as requested by your pretrial services officer;
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11.      You shall report any contact with law enforcement to your pretrial services officer within 24 hours;

12.      You shall not associate or have any contact with the co-defendants in this case unless in the presence of defense counsel;

13.      You shall submit to DNA testing as directed by the United States Attorney’s Office.

14.      The defendant shall participate in a cognitive behavioral treatment program as directed by the pretrial services officer. Such
         program may include group sessions led by a counselor or participation in a program administered by the pretrial services
         officer; and,

15.      Defendant shall participate in a program of medical or psychiatric treatment, including treatment for drug or alcohol
         dependency, as approved by the pretrial services officer.


CHRONOLOGY OF EVENTS:

On April 16, 2010, the Court held a bail violation hearing in response to the following alleged violations of pretrial release: the
defendant submitted urine samples which tested positive for marijuana (and were confirmed as “new use” by the Kroll Director of
Toxicology) on November 23, 2009; December 9, 2009; January 4, 2010; January 8, 2010; January 13, 2010; February 24, 2010;
March 14, 2010; March 29, 2010; and April 1, 2010. In January of 2010, Pretrial Services attempted to address the defendant’s
continued marijuana use by enrolling him in substance abuse counseling and the Moral Reconation Therapy Program. The defendant
submitted a urine sample which tested positive for cocaine on January 19, 2010, and he failed to attend the Moral Reconation Therapy
Program on April 5, 2010.

At his bail violation hearing on April 16, 2010, Mr. Duplessis admitted the violations, he was court order to abstain from marijuana,
and was ordered to enter The Effort’s 90 day residential substance abuse treatment program on Monday, April 19, 2010.
